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                                                                                                FILED
                                                                                           IN OPEN COURT


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA                                 DEC -3

                                      Newport News Division                          CLERK, U.S. DISTRICT COURT
                                                                                            NORFOLK, VA

UNITED STATES OF AMERICA


               V.                                    Criminal No. 4:17crl25


VISHAL JYOTINDRA PATEL,

               Defendant.


                                      PLEA AGREEMENT


       G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia; Brian

J. Samuels, Assistant United States Attorney; the defendant, VISHAL JYOTINDRA PATEL;

and the defendant's coimsel have entered into an agreement pursuant to Rule 11 ofthe Federal

Rules of Criminal Procedure. The terms ofthe agreement are as follows:

       1.      Offense and Maximum Penalties


       The defendant agrees to plead guilty to Counts Three and Five ofthe indictment.

Count Three charges the defendant with Furnishing False Information in a DEA Record,in

violation of Title 21, United States Code, Section 843(a)(4)(A). The maximum penalties for this

offense are a maximum term offour(4) years ofimprisonment, a fine of$250,000, full

restitution, forfeiture of assets as outlined below, a special assessment, and a supervised release

term of one(1) year. Count Five charges the defendant with Aggravated Identity Theft,in

violation of Title 18, United States Code, Section 1028A. The maximum penalties for this

offense are a mandatory minimum term oftwo(2) years imprisonment to run consecutive to any

term ofimprisonment imposed on Coimt Three, a fine of$250,000, a special assessment, and a

supervised release term ofa one(1) year. The defendant imderstands that these supervised

release terms are in addition to any prison term the defendant may receive, and that a violation of
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a term ofsupervised release could result in the defendant being retumed to prison for the full

term ofsupervised release.

       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the statement offacts filed with this plea

agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The statement offacts, which is hereby incorporated into this plea agreement, constitutes

a stipulation offacts for purposes of Section IB1.2(c) ofthe Sentencing Guidelines.

       3.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attomey has rendered effective assistance.

The defendant understands that by entering into this agreement, defendant surrenders certain

rights as provided in this agreement. The defendant understands that the rights of criminal

defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to a jury trial;

               c.     the right to he represented by coimsel- and if necessary have the court

                       appoint counsel- at trial and at every other stage ofthe proceedings; and

               d.      the right at trial to confront and cross-examine adverse witnesses, to be

                       protected from compelled self-incrimination, to testify and present

                       evidence, and to compel the attendance of witnesses.

       4.      Role of the Court and the Probation Office


       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above hut that the Court will determine the
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defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not hinding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker,543

U.S. 220(2005),the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant caimot withdraw a guilty

plea based upon the actual sentence.

       5.      Waiver of Appeal,FOIA and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the marmer in

which that sentence was determined) on the groimds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this plea agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(h). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation




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any records that maybe sought under the Freedom ofInformation Act, 5 U.S.C. § 552, or the

Privacy Act,5 U.S.C. § 552a.

       6.      Special Assessment

       Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per count ofconviction.

       7.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

of a request, the defendant agrees to provide all ofthe defendant's financial information to the

United States and the Probation Office and, if requested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty ofpequry. If the

Court imposes a schedule of payments, the defendant rmderstands that the schedule ofpayments

is merely a minimum schedule of payments and not the only method, nor a limitation on the

methods, available to the United States to enforce the judgment. Until restitution is paid in full,

the defendant will be referred to the Treasury Offset Program so that any federal payment or

transfer ofreturned property to the defendant will be offset and applied to pay the defendant's

unpaid restitution. Ifthe defendant is incarcerated, the defendant agrees to voluntarily

participate in the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of

whether the Court specifically directs participation or imposes a schedule of payments.

       8.      Restitution
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       Defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A.

Defendant agrees to the entry of a Restitution Order for the full amount ofthe victims' losses.

Pmsuant to 18 U.S.C. § 3663A(c)(2), the defendant agrees that an offense listed in §

3663A(c)(l) gave rise to this plea agreement and as such, victims ofthe conduct described in the

charging instrument, statement offacts or any related or similar conduct shall be entitled to

restitution. The parties agree that restitution will be determined by the Court at the time of

sentencing.

       9.      Immunity from Further Prosecution in this District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the indictment or statement offacts.

This plea agreement and statement offacts does not confer on the defendant any immunity from

prosecution by any state government in the United States.

       10.     Dismissal of Other Counts


       Upon execution ofthis agreement and the Court's acceptance ofthe defendant's plea of

guilty, the United States will move to dismiss the remaining counts ofthe indictment against this

defendant.


       11.     Defendant's Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

               a.      The defendant agrees to testify truthfully and completely at any grand

                       juries, trials or other proceedings.
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               b.     The defendant agrees to be reasonably available for debriefing and pre-

                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents, records, writings, or

                      materials of any kind in the defendant's possession or under the

                      defendant's care, custody, or control relating directly or indirectly to all

                      areas ofinquiry and investigation.

               d.     The defendant agrees that, at the request ofthe United States, the

                      defendant will volrmtarily submit to polygraph examinations, and that the

                      United States will choose the polygraph examiner and specify the

                      procedures for the examinations.

               e.     The defendant agrees that the Statement of Facts is limited to information

                      to support the plea. The defendant will provide more detailed facts

                      relating to this case during ensuing debriefings.

               f.     The defendant is hereby on notice that the defendant may not violate any

                      federal, state, or local criminal law while cooperating with the

                      government, and that the government will, in its discretion, consider any

                      such violation in evaluating whether to file a motion for a downward

                      departure or reduction of sentence.

               g.     Nothing in this agreement places any obligation on the government to seek

                      the defendant's cooperation or assistance.

       12.     Use of Information Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,




                                                                                                     if
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except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence(as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section IB1.8(b). Nothing in this plea

agreement, however,restricts the Court's or Probation Officer's access to information and

records in the possession ofthe United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or pequrious information or testimony, or from using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this plea agreement and the full extent of

the defendant's cooperation to the attention ofother prosecuting offices if requested.

       13.     Prosecution in Other Jurisdictions


       The United States Attomey's Office for the Eastern District of Virginia will not contact

any other state or federal prosecuting jurisdiction and voluntarily turn over truthful information

that the defendant provides under this agreement to aid a prosecution ofthe defendant in that

jurisdiction. Should any other prosecuting jurisdiction attempt to use truthful information the

defendant provides pursuant to this agreement against the defendant, the United States

Attomey's Office for the Eastem District of Virginia agrees, upon request, to contact that

jurisdiction and ask that jurisdiction to abide by the immunity provisions ofthis plea agreement.




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The parties understand that the prosecuting jurisdiction retains the discretion over whether to use

such information.


        14.    Defendant Must Provide Full, Complete and Truthful Cooperation

       This plea agreement is not conditioned upon charges being brought against any other

individual. This plea agreement is not conditioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because ofthe defendant's cooperation. This plea agreement is not

conditioned upon any result in any future grand jury presentation or trial involving charges

resulting from this investigation. This plea agreement is conditioned upon the defendant

providing full, complete and truthful cooperation.

       15.     Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 ofthe Sentencing Guidelines and

Policy Statements, or any reduction ofsentence pursuant to Rule 35(b)ofthe Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction ofsentence is appropriate. In addition, the defendant understands that the Court—

not the United States—^will decide what, if any, reduction in sentence is appropriate.

       16.     Forfeiture Agreement

       The defendant imderstands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any fraud related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly, as well

as any property that is traceable to, derived from,fungible with, or a substitute for property that

constitutes the proceeds of his offense. The defendant understands that if proceeds ofthe
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offense(s) are not available to the United States to be forfeited, the Court must enter a forfeiture

moneyjudgment in the amormt ofthe proceeds. United States v. Blackman,746 F.3d 137(4th

Cir. 2014). Defendant acknowledges that as a result of defendant's acts or omissions, the actual

proceeds the defendant obtained as a result ofthe offense are not available and that the

government could prove that one or more ofthe factors listed at 21 U.S.C. § 853(p)(l) are

present in this case.

        The defendant further agrees to waive all interest in the asset(s) in any administrative or

judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

consent to the entry oforders offorfeiture for such property and waives the requirements of

Federal Rules of Criminal Procedure 32.2 and 43(a)regarding notice ofthe forfeiture in the

charging instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe

forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

the forfeiture ofthe property sought by the government.

       In addition, ifrestitution is ordered as part ofthe sentence and in the event the defendant

submits a financial affidavit to the U.S. Attorney's Office and the U.S. Attorney's Office

determines in its sole discretion that the defendant meets the criteria for restoration under the

restoration policy ofthe Money Laundering and Asset Recovery Section("MLARS")ofthe U.S.

Department of Justice, including an inability to pay both restitution and forfeiture, the U.S.

Attomey's Office will submit a restoration request to MLARS that any amoimt obtained through

forfeiture to be applied towards any restitution ordered. If, however, the U.S. Attomey's Office

determines in its sole discretion that the defendant does not meet those criteria, the U.S.

Attomey's Office shall be under no obligation to make any such request. The defendant further
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understands that MLARS,which is not bound by this agreement, retains ultimate discretion

regarding whether to grant or deny any restoration request. Moreover, the defendant

acknowledges that a defendant has no right to an offset against restitution for any property

forfeited. United States v. Blackman, 746 F.3d 137(4th Cir. 2014), and agrees not to challenge

any decision made by the U.S. Attorney's Office or MLARS with respect to any decision with

respect to any restoration recommendation. The defendant also agrees not to request that the

Court reduce or otherwise offset any forfeiture order entered by the amount ofrestitution ordered

or any restitution order entered by the amount of any forfeiture ordered.

        17.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any maimer(including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in anyjudicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct or

substitute assets for property otherwise subject to forfeiture.

        18.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

        Upon request by the government, the defendant agrees to identify all assets in which the

defendant had any interest or over which the defendant exercises or exercised control, directly or

indirectly, within the past three(3) years. The defendant agrees to take all steps as requested by




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the United States to obtain from any other parties by any lawful means any records of assets

owned at any time by the defendant. The defendant agrees to undergo any polygraph

examination the United States may choose to administer concerning such assets and to provide

and/or consent to the release ofthe defendant's tax returns for the previous five years.

       19.     Breach of the Plea Agreement and Remedies

       This agreement is effective when signed by the defendant, the defendant's attorney, and

an attorney for the United States. The defendant agrees to entry ofthis plea agreement at the

date and time scheduled with the Court by the United States (in consultation with the defendant's

attorney). Ifthe defendant withdraws from this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision ofthis agreement, then:

               a.      The United States will be released from its obligations under this

                       agreement, including any obligation to seek a downward departure or a

                       reduction in sentence. The defendant, however, may not withdraw the

                       guilty plea entered pursuant to this agreement;

               b.      The defendant will be subject to prosecution for any federal criminal

                       violation, including, but not limited to, peijury and obstruction ofjustice,

                       that is not time-barred by the applicable statute oflimitations on the date

                       this agreement is signed. Notwithstanding the subsequent expiration of

                       the statute oflimitations, in any such prosecution, the defendant agrees to

                       waive any statute-of-limitations defense; and

               c.      Any prosecution, including the prosecution that is the subject ofthis

                       agreement, may be premised upon any information provided, or




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                       statements made, by the defendant, and all such information, statements,

                       and leads derived therefrom may be used against the defendant. The

                       defendant waives any right to claim that statements made before or after

                       the date ofthis agreement, including the statement offacts accompanying

                       this agreement or adopted by the defendant and any other statements made

                       pursuant to this or any other agreement with the United States, should be

                       excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),

                       the Sentencing Guidelines or any other provision ofthe Constitution or

                       federal law.


       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance ofthe evidence. The proceeding established by this paragraph

does not apply, however, to the decision ofthe United States whether to file a motion based on

"substantial assistance" as that phrase is used in Rule 35(b)ofthe Federal Rules of Criminal

Procedure and Section 5K1.1 ofthe Sentencing Guidelines and Policy Statements. The

defendant agrees that the decision whether to file such a motion rests in the sole discretion ofthe

United States.


       20.       Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this plea agreement, to cause the defendant to




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plead guilty. Any modification ofthis plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.



                                              G.Zachary Terwilliger
                                              United States Attomey


                                        By:               9.,-^       ^
                                              Brian J. Samuels
                                              Assistant United States Attomey


APPROVED:



Howard J. Zldmiclc
Managing Assistant United States Attomey


Date of Approval:

     ///A 7//3f




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         Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal indictment. Further, I fully understand
all rights with respect to Title 18, United States Code, Section 3553 and the provisions ofthe
Sentencing Guidelines Manual that may apply in my case. I have read this plea agreement and
carefully reviewed every part ofit with my attorney. I understand this agreement and volimtarily
agree to it.


Date:
                      Defendant


        Defense Counsel Signature: I am coxmsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending indictment.
Further, I have reviewed Title 18, United States Code, Section 3553 and the Sentencing
Guidelines Manual, and I have fully explained to the defendant the provisions that may apply in
this case. I have carefully reviewed every part ofthis plea agreement with the defendant. To my
knowledge,the defendant's decision to enter into this agreement is an informed and volimtary
one.




Date:
                      Counsel for the Defer




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                                          U. S. DEPARTMENT OF JUSTICE
                                       Statement of Special Assessment Account

   This statement reflects your spedal assessment only. There may be other penalties imposed at sentencing.


                                             ACCOUNT INFORMATION


CRIM. ACTION NO.:                        4:17crl25

DEFENDANT'S NAME:                        VISUAL JYOTINDRA PATEL

PAY THIS AMOUNT:                         $200.00


   INSTRUCTIONS:


            1.      MAKE CHECK OR MONEY ORDER PAYABLE TO:
                    CLERK, U.S. DISTRICT COURT


           2.       PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR SENTENCING
                    DATE


           3.       PAYMENT SHOULD BE SENT TO:


                                           In person(9 AM to 4 PM)               By mail:

     Alexandria cases:                                             Clerk, U.S. District Court
                                                                    401 Courthouse Square
                                                                     Alexandria, VA 22314

     Richmond cases:                                               Clerk, U.S. District Court
                                                               701 East Broad Street, Suite 3000
                                                                     Richmond, VA 23219

     Newport News cases:                                           Clerk, U.S. District Court
                                                                    2400 West Ave, Ste 100
                                                                   Newport News, VA 23607


     Norfolk cases:                                                Clerk, U.S. District Court
                                                                      600 Granby Street
                                                                      Norfolk, VA 23510


           4.       INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER

           5.       ENCLOSE THIS COUPON TO ENSURE PROPER and PROMPT APPLICATION OF
                    PAYMENT




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                                                                                                              if
